Case 2:22-cv-00223-Z Document 1-8 Filed 11/18/22   Page 1 of 10 PageID 191




                   Exhibit 7
            Declaration of Dr. Christina Francis
Case 2:22-cv-00223-Z Document 1-8 Filed 11/18/22   Page 2 of 10 PageID 192
Case 2:22-cv-00223-Z Document 1-8 Filed 11/18/22   Page 3 of 10 PageID 193
Case 2:22-cv-00223-Z Document 1-8 Filed 11/18/22   Page 4 of 10 PageID 194
Case 2:22-cv-00223-Z Document 1-8 Filed 11/18/22   Page 5 of 10 PageID 195
Case 2:22-cv-00223-Z Document 1-8 Filed 11/18/22   Page 6 of 10 PageID 196
Case 2:22-cv-00223-Z Document 1-8 Filed 11/18/22   Page 7 of 10 PageID 197
Case 2:22-cv-00223-Z Document 1-8 Filed 11/18/22   Page 8 of 10 PageID 198
Case 2:22-cv-00223-Z Document 1-8 Filed 11/18/22   Page 9 of 10 PageID 199
Case 2:22-cv-00223-Z Document 1-8 Filed 11/18/22   Page 10 of 10 PageID 200
